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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY




UNITED STATES OF AMERICA
                                                             MAGISTRATE NO. 12-2574


      V.

                                                                     ORDER

 STEPHANIE LIMA




       The financial inability of the defendant to retain counsel having been established by the Court,

and the defendant not having waived the appointment of counsel,

               It is on this   10th      day of        SEPTEMBER         ,   2012

       ORDERED that                BRIAN RILEY                  from the Office of the Federal Public

Defender for the District of New Jersey is hereby appointed to represent said defendant for the Initial

Appearance ONLY, or unless otherwise ORDERED by the COURT.


                                                                 I


                                                    DOUGLAS E. ER
                                                    United States Mgis,)udge
